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                              UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                         CASE NO: 6:22-mj-2242-LHP

 HOWARD B. ADAMS


                                                                                             AUSA: Terry Livanos

                                                         Defense Attorney: Todd Doss, Federal Public Defender

JUDGE:            LESLIE HOFFMAN PRICE                     DATE AND TIME:                         December 2, 2022
                  United States Magistrate Judge                                                       10:12-10:41
                                                                                                       11:17-11:30
Courtroom:        5D                                       TOTAL TIME:                                  42 minutes


DEPUTY CLERK:     Edward Jackson                           REPORTER:                                              Digital
                                                                               Orlando_Digital_Transcripts@flmd.uscourts.gov

INTERPRETER:      None                                     PRETRIAL/PROB:                             No Appearance


                                         CLERK’S MINUTES
         CONTINUATION OF INITIAL APPEARANCE (RULE 40)/FARETTA HEARING/DETENTION HEARING

 Case called; appearances taken; procedural setting by the Court.
 Court advised the Defendant of his rights.
 Court inquired of the Defendant regarding competency.
 Parties advised of the requirement pursuant to the Due Process Protections Act.
 Defendant made an oral motion to withdraw the Federal Public Defender.
 Court inquired of the Defendant.
 Court denied the motion.
 Government exhibits entered.
 Counsel for the Government proffered to the Court.
 Counsel for the Defendant made an argument.
 Court granted the motion for detention.
 Order of Detention, Removal and Commitment entered.




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